(1 of 1), Page 1 of 1                              Case: 24-3042, 04/03/2025, DktEntry: 69.1, Page 1 of 1

                                                    UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

                            Thurgood Marshall U.S. Courthouse 40 Foley Square, New York, NY 10007 Telephone: 212-857-8500

                                                                            MOTION INFORMATION STATEMENT

       Docket Number(s): 24-3042                                                                                         Caption [use short title]

       Motion for: leave for later filing of amicus brief                                           K. W. v. The City of New York




       Set forth below precise, complete statement of relief sought:
       Amici Fourth Amendment and Family Law Scholars request

       leave to file an amicus brief in support of Plaintiffs-Appellants

       14 days after the filing of the principal brief of Plaintiffs-Appellants

       (an extension of 7 days) under FRAP 29(a)(6).




                                                                                              OPPOSING PARTY: None
                             Fourth Amendment and Family Law Scholars (amici curiae)
       MOVING PARTY:

                     Plaintiff                                 Defendant

                     Appellant/Petitioner                     Appellee/Respondent

       MOVING ATTORNEY: Mitchell Russell Stern                     OPPOSING ATTORNEY: None
                                 [name of attorney, with firm, address, phone number and e-mail]
       Mitchell Russell Stern                                                                   212-836-8000
       Arnold & Porter Kaye Scholer LLP                                                        mitchell.stern@arnoldporter.com
       250 West 55th Street, New York, NY 10019

       Court- Judge/ Agency appealed from: Southern District of New York

       Please check appropriate boxes:                                                            FOR EMERGENCY MOTIONS, MOTIONS FOR STAYS AND
                                                                                                  INJUCTIONS PENDING APPEAL:
        Has movant notified opposing counsel (required by Local Rule 27.1):                        Has this request for relief been made below?          Yes No
                    Yes       No (explain):                                                        Has this relief been previously sought in this court? Yes No

                                                                                                   Requested return date and explanation of emergency:

       Opposing counsel’s position on motion:
                   Unopposed        Opposed      Don’t Know
       Does opposing counsel intend to file a response:
                    Yes      ✔
                             _No       Don’t Know



       Is the oral argument on motion requested?                             Yes       No (requests for oral argument will not necessarily be granted)


       Has the appeal argument date been set?                                Yes       No If yes, enter date:


       Signature of Moving Attorney:
       Mitchell Stern            Digitally signed by Mitchell Stern
                                 Date: 2025.04.03 18:45:03 -04'00'    Date: 4/3/2025                Service :    Electronic        Other [Attach proof of service]

       Form T-1080 (rev. 10-23)
